
71 So.3d 269 (2011)
Wanda WAGNER
v.
J. William SHERAR, et al., United Services Automobile Association.
No. 2011-CC-1196.
Supreme Court of Louisiana.
September 30, 2011.
Writ granted. There are no disputed issues of material fact and plaintiff failed to establish that she will be able to satisfy her evidentiary burden of proof at trial. Therefore, defendants are entitled to judgment as a matter of law; accordingly, the judgment of the District Court is reversed. The motion for summary judgment filed by defendants is hereby granted. Plaintiffs' case is hereby dismissed with prejudice.
JOHNSON, J., dissents.
CLARK, J., would deny.
